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  10                      UNITED STATES DISTRICT COURT
  11         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 Travelers Commercial Insurance           Case No. 2:21-cv-5832-GW (PDx)
     Company, a Connecticut Corporation,
  14                                          NEW YORK MARINE AND
                  Plaintiff,                  GENERAL INSURANCE
  15                                          COMPANY’S OPPOSITION TO
           v.                                 TRAVELERS’ EX PARTE
  16                                          APPLICATION VACATING
     New York Marine and General              DEADLINES AND STAYING CASE
  17 Insurance Company, a Delaware            OR ALTERNATIVELY,
     Corporation,                             EXTENDING ALL CURRENT
  18                                          DEADLINES
                  Defendant.
  19                                          Complaint Filed: July 20, 2021
                                              Trial: January 3, 2023
  20
                                              Hon. George H. Wu
  21
     New York Marine and General
  22 Insurance Company, a Delaware
     corporation
  23
                 Counter-Claimant
  24
           v.
  25
     Travelers Commercial Insurance
  26 Company, a Connecticut corporation,
  27             Counter-Defendant
  28
        NEW YORK MARINE AND GENERAL INSURANCE COMPANY’S OPPOSITION TO TRAVELERS’ EX
          PARTE APPLICATION VACATING DEADLINES AND STAYING CASE OR ALTERNATIVELY,
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   1 I.      INTRODUCTION
   2         Defendant New York Marine and General Insurance Company (“NY Marine”)
   3 opposes the Ex Parte Application to Vacate Dates and Stay the present litigation filed
   4 by Plaintiff Travelers Commercial Insurance Company (“Travelers”). NY Marine’s
   5 Opposition is predicated upon the fact that: (1) Travelers, a multi-billion dollar
   6 corporation with tens of thousands of employees, should reasonably be able to
   7 respond to routine discovery requests in litigation it initiated and which it pressed this
   8 Court not to dismiss as recently as eight (8) weeks ago, even if its assigned claim
   9 professional is attending trial of the underlying litigation; (2) because the issuance of
  10 a protective order in the underlying action, to which counsel and NY Marine’s
  11 assigned claim professional are signatories, as well as the anticipated issuance of a
  12 protective order in this matter, undeniably resolve any “privacy” or “privilege”
  13 concerns which may exist in connection with the underlying action; and (3) because
  14 Travelers’ own statements and admissions establish that it’s present difficulties arise
  15 from its own conduct, and thus do not satisfy the standard for ex parte relief, that as
  16 the moving party, it be “without fault in creating the crisis that requires ex parte relief
  17 or that the crisis occurred as a result of excusable neglect.” See Mission Power
  18 Engineering Co. v. Continental Casualty Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995)
  19 (hereinafter, “Mission Power Eng’g”).
  20         Here, Travelers brings the pending Ex Parte Application in the present
  21 coverage litigation against NY Marine asking this Court to “vacate” all deadlines and
  22 stay the present action or, alternatively, to extend all current deadlines. In support of
  23 its application, Travelers asserts of hodge-podge of complaints, including that: (1) its
  24 adjuster is presently attending the trial in the underlying action, and is unable to
  25 respond to discovery or otherwise assist its counsel in this litigation because of her
  26 purported role “supporting” the insured’s defense; (2) that responding to NY Marine’s
  27 discovery requests would implicate the insured’s privacy interests; and (3) that
  28 Travelers shares “a common interest” with the insured entitling them to privileged
                                            1
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   1 and confidential information generated in connection with the underlying litigation,
   2 but that NY Marine “may” be “outside of the insured’s privilege”, contending that a
   3 resolution of those matters “may need input from the insured’s attorneys and guidance
   4 from the Court” and that “[t]he issue requires careful reflection; it cannot be rushed.”
   5 (Ex Parte App. at pp. 1:7-18, 2:3-28.)
   6         As this Court’s general instructions state, “[e]x parte applications are for
   7 extraordinary relief.” See Mission Power Eng’g, supra, 883 F. Supp. 488. As the
   8 Court in Mission Power Eng’g observed, “to justify ex parte relief”, “the evidence
   9 must show that the moving party's cause will be irreparably prejudiced if the
  10 underlying motion is heard according to regular noticed motion procedures. Second,
  11 it must be established that the moving party is without fault in creating the crisis that
  12 requires ex parte relief, or that the crisis occurred as a result of excusable neglect.”
  13 Id., at 492. In short, “Ex parte applications are not intended to save the day for parties
  14 who have failed to present requests when they should have…”. Id.; In re
  15 Intermagnetics Am., Inc., 101 B.R. 191, 193 (C.D.Cal. 1989).
  16         In light of that well established rule, Travelers’ Application presents no “good
  17 cause” why it should be permitted to proceed on an ex parte basis, much less that it
  18 should be granted a stay or continuance. Instead, Travelers presents a series of
  19 arguments which were both entirely foreseeable, and which Travelers has never
  20 before raised as potential obstacles to the prosecution of this litigation—despite
  21 repeated opportunities to do so.
  22         In this respect, this is Travelers’ litigation: it filed the present lawsuit against
  23 NY Marine on January 20, 2021, during the pendency of the underlying litigation.
  24 (Dkt. #1.) A mere two months ago, on February 17, 2022, Travelers appeared before
  25 this Court asking that NY Marine’s motion to dismiss its Complaint be denied. (Dkt.
  26 #36). On March 1, 2022, the parties filed a “Joint Rule 16(b)/26(f) Report” and on
  27 March 3, 2022, appeared before this Court for the Rule 26 Scheduling Conference at
  28 which the present schedule was set. (See, Dkt. #54 and 55, respectively). Neither in
                                              2
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   1 the Joint Report nor during the Status Conference did Travelers raise any of the
   2 concerns which are now asserted in its Ex Parte application. (Declaration of James P.
   3 Wagoner, ¶¶ 4-5.)
   4         It is also the case that Travelers’ substantive arguments underpinning its request
   5 for a stay or continuance are without merit. Travelers is a multi-billion dollar company
   6 with tens of thousands of employees: if Ms. Johnson is unable to review and respond
   7 to discovery and document requests, surely it can find someone to assist her. Travelers
   8 also contends that the insured’s privacy interests could be implicated; but as it relates
   9 to this concern, there is already a protective order in place in connection with the
  10 underlying action to which NY Marine’s assigned claim professional and the
  11 undersigned counsel are all signatories, and NY Marine and Travelers are in the
  12 process of finalizing a protective order in this action.
  13         In short, that Travelers now finds the present litigation inconvenient is not, of
  14 itself, “good cause” for a stay or continuance.
  15 II.     BACKGROUND FACTS
  16         Travelers filed its complaint initiating the present litigation on January 20,
  17 2021. (Dkt. #1.) On August 17, 2021, NY Marine filed a motion to dismiss the
  18 complaint, and on September 7, 2021, Travelers filed its presently-operative First
  19 Amended Complaint (“FAC”). (Dkt. # 11, 15-16.) On September 21, 2021, NY
  20 Marine responded to the FAC by way of a motion to dismiss. Thereafter, the motion
  21 was fully briefed and, pursuant to a stipulation between the parties, argument was
  22 heard on December 13, 2021. (See generally, Dkt. # 17-24). Although the Court
  23 initially indicated its intent to grant the motion, at the insistence of Travelers, the
  24 Court requested additional argument as to whether certain allegations contained in
  25 Travelers’ FAC concerning NY Marine’s provision of an allegedly “inadequate”
  26 defense sufficed to state a cognizable claim. (See, Dkt. #23 [tentative ruling]; Dkt.
  27 #23 [Minutes]; Dkt. #24 [Minute Order granting the motion]; Dkt. #27 [Transcript of
  28 12/13/21 Hearing]). Thereafter, during hearings held on January 20, 2022 and
                                            3
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   1 February 17, 2022, this Court heard considerable argument addressing the motion to
   2 dismiss. At each of those hearings, NY Marine urged the court to grant the motion
   3 and dismiss Travelers’ FAC, while Travelers urged the Court to deny NY Marine’s
   4 motion—an outcome which would have permitted Travelers to appeal at least that
   5 portion of the Court’s ruling holding that NY Marine’s reservation of rights did not
   6 trigger the insured’s right to independent counsel. (Dkt. #24, 26, 27, 32, 36-37, 42,
   7 48-49.) As memorialized at the February 17, 2022 conference, the Court ultimately
   8 denied the motion, although it foreclosed further argument regarding the effect of NY
   9 Marine’s reservation of rights in connection with the underlying action. (Dkt. #48
  10 [Minutes]; Dkt. #57 [Transcript].)
  11         On March 1, 2022, the parties filed a “Joint Rule 16(b)/26(f) Report” and on
  12 March 3, 2022, appeared before this Court for the Rule 26 Scheduling Conference at
  13 which the present schedule was set. (See, Dkt. #54 and 55, respectively). Although
  14 the parties initially proposed a slightly longer schedule, in neither the Joint Report nor
  15 at the March 3, 2022 hearing did Travelers alert either the Court or NY Marine to the
  16 impending trial in the underlying action or suggest that any privacy interest of the
  17 parties’ mutual insured would render discovery impossible or difficult under existing
  18 circumstances. (See generally, Dkt. 54 [Joint Report]; Wagoner Decl. ¶¶ 4-5.)
  19 Likewise, in neither the Joint Report nor at the March 3, 2022 hearing did Travelers
  20 even alert the Court or NY Marine to the impending trial of in the underlying action—
  21 much less suggest that the trial of that action would prevent Travelers from fulfilling
  22 either its discovery or its Rule 26 obligations in this action. (Dkt. 54 [Joint Report];
  23 Wagoner Decl. ¶¶ 4-5.)
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   1          On Saturday, March 19, 2022, NY Marine served Requests for Admission,
   2 Requests for Production, and Special Interrogatories on Travelers. (Dkt. 61-1, Exs. 3-
   3 5; Wagoner Decl. ¶ 6.) On Thursday, March 24, 2022, Travelers’ counsel requested a
   4 telephone conference with the undersigned counsel on the following day, Friday,
   5 March 25, 2022. (Wagoner Decl. ¶ 7, Ex. 1.) On March 25, 2022, counsel for
   6 Travelers and undersigned counsel spoke at length; for the first time, counsel for
   7 Travelers disclosed that trial of the underlying action was scheduled to commence on
   8 April 7, 2021, that Travelers’ claim professional, Ms. Johnson, would be attending,
   9 and that Travelers believed it would be unable to respond to NY Marine’s requests or
  10 adequately litigate this matter, and consequently proposed a continuation or stay of
  11 these proceedings. (Id., at ¶ 8.) In this respect, during the March 25, 2022 call,
  12 Travelers’ counsel acknowledged that Travelers had received substantial volumes of
  13 invoices, emails and other materials in connection with the underlying action which
  14 it had yet to fully categorize or integrate into its claim file—implying that the backlog
  15 included potentially months of invoices, emails and other materials relating to the
  16 underlying action which were within the scope of NY Marine’s discovery requests
  17 but which Travelers had yet to organize—and that it would be impracticable for
  18 Travelers to do so during the trial of the underlying litigation.1 (Id.)
  19          After consideration, NY Marine declined to stipulate to the requested
  20 continuance.2 (Wagoner Decl. ¶ 9.) Nevertheless, in response to an April 7, 2022
  21
       1
  22   Indeed, as recently as April 12, 2022, Ms. Johnson herself admitted in an email to
     NY Marine’s claim professional that she has “hundreds of emails from defense
  23 counsel” which have apparently not been cataloged or included in Travelers’ claim
  24 file. (Wagoner Decl. ¶ 12, Ex. 3.)
  25   2
        Put simply, Travelers has repeatedly elected to press forward with the present
  26 litigation on the basis of claims which NY Marine considers not only specious, but
     predicated on a blatant misreading of the facts. NY Marine is entitled to its day in
  27 Court to establish the falsity of Travelers’ allegations, and Travelers should not now
  28 be permitted to delay an adjudication which it ardently sought as recently as 6 weeks
                                                 5
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   1 request for a thirty (30) day extension of time to respond to NY Marine’s previously-
   2 served discovery, NY Marine agreed to grant Travelers a fourteen (14) day extension.
   3 (Id., at ¶ 10, Ex. 2.)
   4 III.    LEGAL ARGUMENT
   5         A.     Legal Standard
   6         Whether to grant a stay or continuance of the present matter is within the
   7 discretion of this Court. See, e.g., Freeman v. ABC Legal Services Inc., 827 F.Supp.2d
   8 1065, 1071 (2011) (observing that “courts ‘have wide latitude in controlling
   9 discovery, and their rulings will not be overturned in the absence of a clear abuse of
  10 discretion.’”) (quoting Cal. ex rel. Cal. Dep’t. of Toxic Substances Control v.
  11 Campbell, 138 F.3d 772, 770 (9th Cir. 1998)).
  12         Furthermore, on an ex parte basis, Travelers must demonstrate that it “will be
  13 irreparably prejudiced if the underlying motion is heard according to regular noticed
  14 motion procedures”, and that Travelers itself “is without fault in creating the crisis
  15 that requires ex parte relief, or that the crisis occurred as a result of excusable neglect.”
  16 Mission Power Eng’g, supra, 883 F. Supp. 488, 492.
  17         B.     Travelers’ Arguments Are Without Merit
  18                1.     Travelers’ Argument That It Cannot Complete Discovery
                           Because Its Claim Professional Is “Working With the
  19                       Defense” Belies Travelers’ Corporate Nature, The Fact of
                           Travelers’ Cumis Triggering ROR, and Common Sense
  20
             Travelers’ first argument asserts that its claims professional, Pamela Johnson,
  21
       “is staying in a rented place in Virginia, not Minnesota where she lives and works, in
  22
       order to monitor trial and to assist the insured and her attorneys, full-time. … Since
  23
       she is not in her office, and she is monitoring the trial and working with the defense
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  25
  26 ago merely because Travelers is disorganized and now finds it inconvenient to fulfill
     the obligations which attend the litigation it filed and actively entreated this Court not
  27 to dismiss.
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                                                 6
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   1 team all day, she cannot effectively assist Travelers in responding to detailed
   2 document and other discovery from [NY Marine], which is due in two weeks.” Ex
   3 Parte App., at p. 1:8-15.3 To this end, Ms. Johnson asserts in her declaration that she
   4 is “an active part of the defense team” who has, for instance, “assist[ed]” the defense
   5 team “in getting an adverse witness disqualified by discovering, via social media
   6 research, that she had been following the testimony of other witnesses…”, with the
   7 result that her “support role in [the insured’s] defense is substantive.” Ex Parte App.,
   8 Johnson Decl., at p. 7, ¶ 7.
   9          As an initial matter, it bears noting that Ms. Johnson’s declaration does not
  10 attest whether Travelers has relieved her of all of her otherwise pre-existing duties in
  11 their entirety—or whether she is merely contending that she is unable attend to her
  12 obligations in connection with this specific litigation. See generally, Ex Parte App.,
  13 Johnson Decl., at pp. 6-8, ¶¶ 1-11. Absent such direct testimony, her inability to
  14 participate in the present litigation appears, at best, selective.
  15          More to the point, the simple fact is that Travelers is a multi-billion dollar
  16 company employing “approximately 30,000 employees . . . in the United States,
  17 Canada, the United Kingdom and Ireland”. See, Wagoner Decl. ¶ 11; Request for
  18 Judicial Notice ¶¶ 1-2, Exs. 1-2.) It therefore stands to reason that if Ms. Johnson is
  19 truly unable to assist Travelers in this litigation, that Travelers can find someone
  20 qualified and able to review correspondence and produce appropriate documents in
  21 response to NY Marine’s routine discovery requests.
  22          Furthermore, Ms. Johnson’s naked conflation of her role as Travelers’
  23 appointed claim representative as one necessarily involving “an active part of the
  24
  25   3
       As noted above and as relevant to the present posture of the discovery, New York
  26 Marine’s discovery was served on Saturday, March 19, 2022 and was initially due
     April 18, 2022. NY Marine then granted Travelers a two-week extension of time to
  27 respond such that based on the present deadline, May 2, 2022, Travelers has had six
  28 (6) weeks to respond. (Wagoner Decl., ¶ 10, Ex. 2.)
                                              7
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   1 defense team”, not only defies common sense but the obvious implications emanating
   2 from Travelers’ reservation of rights. Specifically, Travelers itself acknowledges that
   3 its reservation of rights letter triggered the insured’s right to “independent” Cumis
   4 counsel. (FAC, Dkt. #15, at ¶ 10 [“Travelers agreed to defend the mutual insured with
   5 respect to the Underlying Action under a reservation of rights. In light of its
   6 reservation of rights and California law, including the holding of San Diego Navy
   7 Federal Credit Union v. Cumis Insurance Society (“Cumis”), 162 Cal.App.3d 358
   8 (1984), Civil Code section 1646, Travelers offered to pay for independent counsel of
   9 the mutual insured’s own selection…”.]). Therefore, it necessarily follows that there
  10 is a conflict of interest between Travelers and the insured.
  11         Furthermore, under California law, “[f]or independent counsel to be required,
  12 the conflict of interest must be ‘significant, not merely theoretical, actual, not merely
  13 potential.’” James 3 Corp. v. Truck Ins. Exch., 91 Cal.App.4th 1093, 1101 (2001)
  14 (quoting Dynamic Concepts, Inc. v. Truck Ins. Exch., 61 Cal.App.4th 999, 1006-1008
  15 (1998)). Accordingly, Travelers’ appointment of independent counsel is an
  16 acknowledgement that a “significant … actual” conflict of interest exists between
  17 Travelers and the insured.      It follows that if Ms. Johnson is in fact acting in a
  18 “substantive”, “active part of the defense team”, that is certainly inconsistent with the
  19 acknowledged conflict of interest.
  20         Moreover, Travelers’ contention that it is because Ms. Johnson is involved
  21 trial—and not any other reason—that it simply cannot accommodate responding to
  22 NY Marine’s discovery is belied by the admissions of Travelers’ counsel and Ms.
  23 Johnson herself. In this respect, during the undersigned counsel’s call with Travelers’
  24 counsel on March 25, 2022, Travelers’ counsel conceded that part of the reason it was
  25 difficult for Travelers to respond at present was that its claim file was “incomplete”,
  26 with an extensive backlog of invoices, emails, and other documents which had not yet
  27 been cataloged and incorporated into its claim file by Ms. Johnson. (Wagoner Decl.,
  28 ¶ 8.) Likewise, in an April 12, 2022 email to NY Marine’s claim professional, Ms.
                                             8
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   1 Johnson specifically admitted that “[defense counsel] and I have communicated
   2 almost every day about this case”, and that consequently, she has “hundreds of emails
   3 from defense counsel” which have apparently not been cataloged or included in
   4 Travelers’ claim file—and which certainly have not been communicated to NY
   5 Marine, despite repeated requests to both Travelers and the insured’s defense counsel
   6 for such materials. (Id., ¶ 12, Ex. 3.) While one can imagine that this may result in
   7 difficulty for Travelers in now attempting to respond to NY Marine’s discovery
   8 requests, it cannot plausibly claim that this is solely a result of the ongoing trial—nor
   9 can Travelers claim that it “is without fault in creating the crisis that requires ex parte
  10 relief”. Mission Power Eng’g, supra, 883 F. Supp. 488, 492.
  11           In short, because Travelers has thousands of employees, and because there is
  12 an acknowledged conflict of interest between the insured and Travelers, there is no
  13 logical or justifiable reason why Travelers cannot accommodate NY Marine’s
  14 unremarkable discovery requests in this matter. (See, Ex Parte App., Exhibits, Dkt.
  15 #61-1, Exs. 3-5.) Moreover, since Travelers’ own recent statements make clear that
  16 its present difficulties are apparently the result of its own long-running failure to
  17 properly update its claim file, Travelers cannot establish that it is entitled to ex parte
  18 relief.
  19                 2.    Travelers’ Privacy Arguments Are Specious And Misstate
                           The Law Concerning Its Own Entitlement to Privileged
  20                       Material Given the “Serious … Actual” Conflict Existing
                           Between the Insured and Itself
  21
               Travelers also contends that “[t]he Underlying Action involves compelling
  22
       privacy concerns of the parties’ mutual insured, [] is a matter of media interest, and []
  23
       is being litigated pursuant to a protective order entered in that case.” (Ex Parte App.,
  24
       at p. 2:3-5). Travelers further asserts that the parties “each have an obligation to
  25
       protect their mutual insured’s right to maintaining her privacy, to the extent possible,
  26
       and her right to a fair and effective trial without risking public exposure of hyper-
  27
       sensitive information during the trial.” (Id., at p. 2:8-11).
  28
                                                   9
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   1         To the extent Travelers implies that the insured’s privacy interests alone
   2 outweigh the need for it to comply with its ongoing litigation obligations in this action
   3 which it instituted, those arguments are clearly without merit. As Travelers
   4 acknowledges, the underlying action is subject to a Protective Order—which as of the
   5 date of this filing, the undersigned counsel and NY Marine’s claim professional have
   6 executed and are thus bound to comply with. (Wagoner Decl., ¶ 13.) Likewise, the
   7 parties have negotiated a proposed stipulated protective order in connection with this
   8 litigation, which is being filed with the Court contemporaneously with this
   9 Opposition. (Wagoner Decl., ¶ 14.)
  10         At the outset, NY Marine does not deny that its discovery requests “implicate
  11 the insured’s right to privacy as well as her attorney-client privilege.” (Ex Parte App.,
  12 at p. 2:16-17.) Nevertheless, it bears noting that Travelers’ argument is entirely
  13 selective and utterly self-serving, as Travelers initiated the present litigation. Where
  14 was its concern for the insured’s privacy then? Such are the nature of coverage
  15 disputes. Regardless, the existence of not one but two applicable protective orders,
  16 enforceable by two separate courts, should suffice to allay any concern that the
  17 insured’s private information will be bandied about indiscriminately.
  18         Moreover, Travelers argument goes further, asserting that it “is on the inside of
  19 that privilege, under the common interest doctrine, because it is supporting the
  20 defense”, while contending that “[t]o the extent that [NY Marine] contends that it has
  21 no duty to defend the insured under the circumstances of this case, its interest may
  22 not align with the insureds”. Once again, Travelers is seeking to have its cake and eat
  23 it to: initiating this litigation on the express premise that NY Marine owes a duty to
  24 defend the insured, but happily asserting that NY Marine may not be so obligated
  25 where, as here, it is momentarily convenient for it to take that contrary position. In
  26 any event, having initiated the present litigation, Travelers should not now be heard
  27 to complain that NY Marine seeks discovery of information which may be critical to
  28 its defense—and again, any concern regarding privacy should be more than
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   1 eliminated by the existence of not one, but likely two applicable protective orders.
   2         Critically, Travelers’ argument also not only misunderstands the law, but it
   3 misstates its own legal position as well. As outlined above, Travelers expressly
   4 acknowledged a “significant … actual” conflict between itself and the insured
   5 sufficient to trigger the insured’s rights to independent counsel under Civil Code §
   6 2860. (FAC, Dkt. #15, ¶ 10.) As relevant, Civil Code § 2860(d) states that “[w]hen
   7 independent counsel has been selected by the insured, it shall be the duty of that
   8 counsel and the insured to disclose to the insurer all information concerning the action
   9 except privileged materials relevant to coverage disputes, and to timely inform and
  10 consult with the insurer on all matters relating to the action.” (Emphasis added). In
  11 short, since it is Travelers and not NY Marine which issued a reservation of rights
  12 triggering the insured’s right to independent counsel, it is Travelers, not NY Marine
  13 which is not entitled to obtain “privileged materials” to the extent they relate to the
  14 coverage dispute between itself and the insured. Civ. Code § 2860(d); Assur. Co. of
  15 Am. v. Haven, 32 Cal.App.4th 78, 85, 88; see also, Hartford Cas. Ins. Co. v. J.R.
  16 Marketing, L.L.C., 61 Cal.4th 988, 1006 (2015) (insurer could obtain independent
  17 counsel’s fee and task descriptions in fee dispute where requested documents
  18 necessarily contained material subject to the attorney-client privilege and work-
  19 product doctrine). Thus, its argument is incorrect as a matter of law, and therefore is
  20 not a basis to grant the requested relief.
  21         Lastly, and setting aside Travelers’ erroneous arguments in support of a stay or
  22 continuance, the fact that NY Marine would seek copies of correspondence, claim
  23 files, and other material regarding the defense was unquestionably foreseeable.
  24 Notwithstanding this fact—and despite numerous opportunities to raise the issue,
  25 including most recently in the March 1, 2022 Joint Report and during the March 3,
  26 2022 Scheduling Conference—Travelers failed to do so. (Wagoner Decl. ¶ 8.) And as
  27 observed above, Travelers’ statements effectively admit that its own disorganization
  28 has contributed to its inability to respond to NY Marine’s requests. (Id., at ¶¶ 8, 12,
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   1 Ex 3.) Travelers’ moving papers provide no explanation why this was the result of
   2 “excusable neglect” and cannot plausibly do so. Travelers’ urgent need for relief is
   3 thus a happenstance of its own creation, for which reason it cannot satisfy the
   4 necessary element of a claim for ex parte relief in showing that it “is without fault in
   5 creating the crisis that requires ex parte relief, or that the crisis occurred as a result of
   6 excusable neglect.” Mission Power Eng’g, supra, 883 F. Supp. 488, 492.
   7                 3.      Travelers Offers No Plausible Substantive Explanation or
                             Argument How the Insured’s Interests Are Impinged By The
   8                         Present Litigation
   9         As observed above Travelers’ brief contains a series of broad, entirely general
  10 assertions concerning the insured’s right of privacy, the need to protect her rights, as
  11 well as generalized (and unremarkable) hand-waving that NY Marine’s discovery
  12 requests seek documents and materials including attorney-client privileged and/or
  13 other private documents pertaining to the insured’s defense of the underlying
  14 litigation. (See generally, Ex Parte App., at pp. 2:3-17; 4:28-5:2). On that basis,
  15 Travelers asserts that “discovery while trial is pending implicates the insured’s rights
  16 to privacy, privilege with her attorneys, and a fair trial”, and so contends that “[t]hese
  17 concerns can be assessed better, and differently, when the trial is finished.”
  18         As it bears on Travelers’ highly generalized assertions, California courts have
  19 developed a test to evaluate whether a coverage action should be stayed pending the
  20 resolution of underlying litigation. Specifically, “[t]o eliminate the risk of inconsistent
  21 factual     determinations       that      could     prejudice      the    insured,   a stay of
  22 the declaratory relief action pending resolution of the third party suit is appropriate
  23 when      the        coverage   question     turns    on    facts     to    be   litigated   in
  24 the underlying action.” Maryland Cas. Co. v Witherspoon, 993 F.Supp.2d 1178, 1186
  25 (N.D.Cal. 2014) (quoting Montrose Chem Corp. v. Superior Court, 6 Cal.4th 287, 301
  26 (1993)); Atlantic Cas. Ins. Co. v. Crum, 364 F.Supp.3d 1123, 1136 (E.D.Cal. 2019)
  27 (same); Tokio Marine Spec. Ins. Co. v. Thompson Brooks, Inc., 252 F.Sup.3d 753,
  28 764 n. 11 (N.D.Cal. 2017) (same). “By contrast, when the coverage question is
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   1 logically unrelated to the issues of consequence in the underlying case,
   2 the declaratory relief action may properly proceed to judgment.” Witherspoon, supra,
   3 993 F.Supp.2d at 1186 (quoting Montrose Chem. Corp. v. Superior Court, 25
   4 Cal.Appp.4th 902, 908 (1995)).
   5         Here, NY Marine is aware of no issue relevant to the present dispute between
   6 Travelers and NY Marine which “turns on facts to be litigated in the underlying
   7 action”. Put simply: whether the insured is liable in the underlying action or not is
   8 immaterial to the claims asserted between Travelers and NY Marine. Certainly, if
   9 Travelers believes otherwise, then its Application utterly failed to identify the relevant
  10 issues and facts.
  11         Likewise, Travelers presents no argument explaining how the insured would be
  12 prejudiced by the resolution of the claims asserted between Travelers and NY Marine,
  13 in an action to which she is not a party. (See generally, Ex. Parte App., Dkt. #61, at
  14 pp. 1-5.) In general, however, absent unusual circumstances, since the insured is not
  15 a party, nothing determined as between Travelers and NY Marine in this action would
  16 be binding upon the insured. See, e.g., Steen v. John Hancock Mut. Life Ins. Co., 106
  17 F.3d 904, 910 (“‘Collateral estoppel, or issue preclusion, bars the relitigation of issues
  18 actually adjudicated in previous litigation between the same parties’”, and noting that
  19 “Collateral estoppel applies not only against actual parties to prior litigation, but also
  20 against a party that is in privity to a party in previous litigation.”) (quoting Kamilche
  21 Co. v. United States, 53 F.3d 1059, 1062 (9th Cir. 1995), and Shaw v. Hahn, 56 F.3d
  22 1128, 1131 (9th Cir.), cert denied, 516 U.S. 964 (1995)). Accordingly, lacking any
  23 showing by Travelers in its Ex Parte Application how its mere responses to discovery
  24 in the present action would prejudice the insured in the underlying action, its
  25 arguments do not establish any “good cause” for a stay or continuance—much less on
  26 an ex parte basis.
  27         Again, a protective order is already in place in connection with the underlying
  28 action, and a further order will no doubt shortly be in place in this action as well.
                                             13
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   1 There is no reason to expect that the parties will be unable to protect the insured’s
   2 generalized but non-specific, privacy interests. For this additional reason, Travelers’
   3 vague, non-specific allusions should not suffice to justify a stay of the present
   4 litigation.
   5 IV.     CONCLUSION
   6         Having initiated this litigation during the pendency of the underlying action and
   7 earnestly pressed this Court to permit its claims to stand as recently as 8 weeks ago,
   8 Travelers now seeks a stay of the present litigation, contending that staffing
   9 difficulties, the ongoing trial, and concerns regarding the insured’s “privacy” interests
  10 require a stay of the present litigation. But Travelers’ claims are vague and
  11 hypothetical—Travelers points to no specific issue in this litigation which is likely to
  12 expose the insured’s private information or endanger the ongoing trial in the
  13 Underlying Action. More to the point, given the existing protective order in the
  14 underlying litigation with which both NY Marine’s counsel and its claims
  15 professional are bound to comply, and the likely entrance of a second protective order
  16 in this litigation, Travelers’ Ex Parte Application provides no logical reason why those
  17 interests cannot be properly safeguarded without the drastic act of staying the present
  18 litigation.
  19         Likewise, Travelers’ arguments that it is “inside” the insured’s privilege but
  20 that NY Marine that are simply contrary to law: Travelers has expressly
  21 acknowledged an “actual” conflict with the insured, and as a consequence, it is
  22 Travelers, not NY Marine, which may not be entitled to privileged information from
  23 the insured. As well, Travelers’ contention that it—a multibillion dollar corporation
  24 with tens of thousands of employees—cannot find someone to review and disclose
  25 communications already in its possession defy good practice and common sense.
  26         Finally, Travelers’ own acts and statements make clear that it is not “without
  27 fault in creating the crisis that requires ex parte relief”.
  28         Accordingly, for all the foregoing reasons, NY Marine respectfully requests
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   1 that the Court deny Travelers’ Ex Parte Application.
   2
   3 Dated: April 19, 2022                  McCORMICK, BARSTOW, SHEPPARD,
                                                WAYTE & CARRUTH LLP
   4
   5                                       By:           /s/ James P. Wagoner
   6                                                    James P. Wagoner
                                                          Lejf E. Knutson
   7                                                 Nicholas H. Rasmussen
   8                                                 Graham A. Van Leuven
                                          Attorneys for Defendant New York Marine and
   9                                               General Insurance Company
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   1                                 PROOF OF SERVICE
   2   Travelers Commercial Insurance Company v. New York Marine and General
                                 Insurance Company
   3
       STATE OF CALIFORNIA, COUNTY OF FRESNO
   4
           At the time of service, I was over 18 years of age and not a party to this action.
   5 I am employed in the County of Fresno, State of California. My business address is
     7647 North Fresno Street, Fresno, CA 93720.
   6
           On April 19, 2022, I served true copies of the following document(s) described
   7 as NEW YORK MARINE AND GENERAL INSURANCE COMPANY’S
     OPPOSITION TO TRAVELERS’ EX PARTE APPLICATION VACATING
   8 DEADLINES AND STAYING CASE OR ALTERNATIVELY, EXTENDING
     ALL CURRENT DEADLINES on the interested parties in this action as follows:
   9
     Mark D. Peterson
  10 Kathleen O. Peterson
     Amy Howse
  11 Cates Peterson LLP
     4100 Newport Place, Suite 230
  12 Newport Beach, CA 92660
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  15 Attorneys     for   Plaintiff    Travelers
     Commercial Insurance Company
  16
            BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
  17 the document(s) with the Clerk of the Court by using the CM/ECF system.
     Participants in the case who are registered CM/ECF users will be served by the
  18 CM/ECF system. Participants in the case who are not registered CM/ECF users will
     be served by mail or by other means permitted by the court rules.
  19
            I declare under penalty of perjury under the laws of the United States of
  20 America that the foregoing is true and correct and that I am employed in the office of
     a member of the bar of this Court at whose direction the service was made.
  21
            Executed on April 19, 2022, at Fresno, California.
  22
  23
                                                      /s/ Heather Ward
  24                                             Heather Ward
  25
  26
  27
  28

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        DEADLINES AND STAYING CASE OR ALTERNATIVELY, EXTENDING ALL CURRENT DEADLINES
